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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

ELI LILLY AND COMPANY, Civil Action No, 2:25-cv-02183 (MEF)
(MAH)
Plaintiff,

V5.

EMPOWER CLINIC SERVICES,
LLC d/b/a EMPOWER
PHARMACY, EMPOWER CLINIC ORDER
SERVICES NEW JERSEY, LLC
d/b/a EMPOWER PHARMA,

Defendants.

This matter having been brought before the Court by motion of Blank Rome
LLP, counsel for Defendants Empower Clinic Services, L.L.C. d/b/a Empower
Pharmacy (incorrectly named as “Empower Clinic Services, LLC d/b/a Empower
Pharmacy”) and Empower Clinic Services New Jersey, LLC d/b/a Empower
Pharma Gncotrrectly named as “Empower Clinic Services New Jersey LLC d/b/a
Empower Pharma”) (collectively, “Empower” or “Defendants”), for an Order
permitting Rachael Pontikes and Susan Dewey of Blank Rome LLP; Karla L.
Palmer of Hyman, Phelps & McNamara PC; and Keith J. Wesley of Ellis George
LLP, to appear and participate pro hac vice in this matter on behalf of Defendants;
for good cause shown pursuant to Local Civil Rule 10L.1(c) of the United States
District Court for the District of New Jersey and the Court having considered the

parties’ submissions, and good cause having been shown:

171029.00025/153955123v.4

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IT IS on this \o" day of Dawe , 2025,

ORDERED that Rachael Pontikes and Susan Dewey of Blank Rome LLP;
Karla L. Palmer of Hyman, Phelps & McNamara PC; and Keith J. Wesley of Ellis
George LLP, are permitted to appear pro hac vice as additional counsel for
Defendants in the above-captioned matter, pursuant to Local Civil Rule 101.1(c) of
the United States District Court for the District of New Jersey; provided, however,
that all pleadings, briefs and other papers filed with or submitted to the Court shall
be signed by Stephen M. Orlofsky, or by such other member of the bar of this
Court who has or may appear as counsel of record for Defendants, who shall be
held responsible for said papers and for the conduct of the case and who shall be
present before the Court during all steps of these proceedings, unless expressly
excused by the Court, as well as be held responsible for the conduct of the
attorneys admitted pro hac vice pursuant to this Order; and it is

FURTHER ORDERED that cach attorney admitted pro hac vice pursuant

& $950.00

to this Order shall pay the annual fee to the New Jersey Lawyers Fund for Client
Protection in accordance with New Jersey Court Rule 1:28-2 and the fee required
by L.Civ.R. 101.1(c)(3) within twenty (20) days from the date of the entry of this
Order; and it is

FURTHER ORDERED that each attorney admitted pro hac vice pursuant

to this Order shall be within the disciplinary jurisdiction of this Court, and shall be

171029.00025/153955123v.1

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bound by the Local Civil and Admiralty Rules of the United States District Court

for the District of New Jersey, including the provisions of Local Civil Rule 103.1,

Judicial Ethics and Professional Responsibility, and Local Civil Rule 104.1,

Discipline of Attorneys; and it is

FURTHER ORDERED that each attorney admitted pro hac vice pursuant
to this Order shall be deemed to have agreed to take no fee in any tort case in
excess of the New Jersey State Court Contingency Fee Rule, Rule 1:21-7, as
amended; and it is

FURTHER ORDERED that a copy of this Order shail be forwarded by the

Clerk to the Treasurer of the New Jersey Lawyers Fund for Client Protection.
SO ORDERED

s/Michael A. Hammer
Michael A. Hammer, U.S.M.J.

pate: 6/10/25

cae ry

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